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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

JONATHON A MOSELEY,                 )
                                    )
            Plaintiff,              )
                                    )
v.                                  )                        Civil Action No. 1:20-cv-01248 (AJT/JFA)
                                    )
JUDGE RICHARD E GARDINER, et al., )
                                    )
            Defendants.             )
____________________________________)

                                                     ORDER

           Plaintiff Jonathon A. Moseley (“Plaintiff”) has filed a Notice of Filing of Supersedeas

Bond and Request for Required Instructions to the Clerk by the District Court Judge (the

“Motion”), [Doc. No. 91], in which he requests approval of a supersedeas bond in the amount of

$5,000.

           Upon consideration of the Motion, the amount of the Amended Judgment entered against

Plaintiff on November 19, 2021, [Doc. No. 90], 1 and the amount that Amended Judgment will

continue to increase, as set forth therein, during the pendency of any appeal, it is hereby

           ORDERED that a supersedeas bond is set in the amount of $15,000, upon the posting of

which, together with the payment of $7,000, as represented in the Motion, [Doc. No. 91] at 2,

execution upon the Amended Judgment entered on November 19, 2021, [Doc. No. 90], shall be

STAYED (but not the daily $50 increase in the amount of that Amended Judgment), pending the

outcome of Plaintiff’s appeal to the United States Court of Appeals for the Fourth Circuit.

           The Clerk shall forward a copy of this Order to Plaintiff and all counsel of record.




1
    The Amended Judgment was entered as part of the Court’s Contempt Order against him. See [Doc. No. 88].
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Alexandria, Virginia
December 2, 2021
